                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS
___________________________________
                                     )
DOMINIC OLIVEIRA,                    )
on his own behalf and on behalf of   )
all others similarly situated,       )
                                     )
                      Plaintiffs,    )    Civil Action No. 1:15-cv-10603-PBS
v.                                   )
                                     )
NEW PRIME INC.,                      )
                                     )
                      Defendant.     )
___________________________________ )

                            AMENDED JOINT STATEMENT

       Pursuant to Rule 26(f) of the Federal Rules of Civil Procedure, Local Rule 16.1,

and the status conference on February 26, 2019, the parties hereby submit this Amended

Joint Statement.

I.     Discovery Plan and Motion Schedule


       A.     Discovery deadline: As ordered by the Court at the status conference,

discovery relating to liability shall be completed by January 31, 2020. This includes

discovery relating to class certification issues, the named plaintiff’s individual claims,

generally applicable policies and practices, and merits discovery (but excluding

discovery on alleged class-wide damages). The parties will complete discovery relating

to class certification issues, the named plaintiff’s individual claims, and generally

applicable policies and practices, on or before July 31, 2019, in order to facilitate class

certification briefing. The parties respectfully submit that further merits discovery may

need to take place after the Court’s ruling on class certification, to the extent that ruling


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is issued after the January 31, 2020 close of discovery, but the parties will work

cooperatively to minimize the need for such discovery. B. Class and conditional

certification: Plaintiffs are to file motions for class and collective certification no later

than August 30, 2019; Defendant’s oppositions to be filed thirty days later; and

Plaintiffs’ replies to be filed 14 days later.

       C.     Dispositive motions: parties are to file dispositive motions no later than

February 28, 2020; oppositions to be filed thirty days later; and replies to be filed 14

days later.

II.    Alternative Dispute Resolution: As ordered by the Court at the status

conference, the parties shall participate in mediation no later than December 13, 2019.

The parties shall file a status report with the Court no later than April 30, 2019, stating

whether they will use the Court’s mediation program or a private mediator and the

date of the scheduled mediation (and the mediator’s name, if they are using a private

mediator). The parties shall file a status report no later than January 7, 2020, informing

the Court of the results of the mediation.


                               




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Respectfully submitted,

DOMINIC OLIVEIRA,                        NEW PRIME, INC.
on behalf of himself                     By its attorneys,
and all others similarly situated,

By their attorneys,

 /s/ Brant Casavant                       /s/ Amanda C. Machin
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                                         *Admitted pro hac vice.

                                         Dated: March 5, 2019.




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                                   CERTIFICATE OF SERVICE

       I hereby certify that on March 5, 2019, I electronically filed the foregoing with the

Clerk of the Court by using the CM/ECF system which will send a notice of electronic

filing to all counsel of record.


                                                         /s/ Amanda C. Machin




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